  Case 19-01253     Doc 1    Filed 09/11/19 Entered 09/11/19 17:15:46    Desc Main
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                            TWENTY LARGEST CREDITORS




DEUTSCHE BANK TRUST COMPANY
AMERICASAS TRUSTEE FOR THE
REGISTERED HOLDERS OF
WFRBS COMMERCIAL MORTGAGE TRUST 2013-C18,
COMMERCIAL MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2013-C18


 c/o Robert Hammeke (pro hac vice) Claim for bank loan Disputed claim   $30,000,000.00
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